Case 6:24-cv-00351-RRS-DJA Document 15 Filed 05/15/24 Page 1 of 1 PageID #: 218




                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

 PREPARED FOOD PHOTOS, INC., f/k/a ADLIFE                  )
 MARKETING & COMMUNICATIONS CO., INC.,                     )
                                                           )
                              Plaintiff,                   )
                                                           )
                      v.                                   )    No. 6:24-cv-00351-RRS-DGA
                                                           )
 CLYDE’S CHICKEN KING, INC. d/b/a                          )
 CHICKEN KING,                                             )
                                                           )
                              Defendant.                   )

          DEFENDANT’S APPLICATION FOR ATTORNEY FEES AND COSTS

        Pursuant to 17 U.S.C. § 505 and Rule 54(d) of the Federal Rules of Civil Procedure,

 defendant Clyde’s Chicken King moves the Court to award it $36,320 in attorney fees and costs.

                                                    Respectfully submitted,


                                                         /s Paul Alan Levy
                                                    Paul Alan Levy (pro hac vice)

                                                      Public Citizen Litigation Group
                                                      1600 20th Street NW
                                                      Washington, D.C. 20009
                                                      (202) 588-7725
                                                      plevy@citizen.org


                                                         /s/ Heather Cross
                                                    Heather Cross

                                                      The Cross Law Firm
                                                      6663 Jefferson Hwy
                                                      Baton Rouge, Louisiana 70806
                                                      (225) 256-0366
                                                      hcross@lawacrossla.com
 May 15, 2024
